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                                      UNITED STATES DISTRICT COURT
 1
                                      NORTHERN DISTRICT OF GEORGIA
 2                                          ATLANTA DIVISION
 3

 4    IN RE: SOCIAL MEDIA ADOLESCENT                     Case No.
      ADDICTION/PERSONAL INJURY
 5    PRODUCTS LIABILITY LITIGATION                      MDL No. 3047

 6

 7    This Document Relates to:                      LOCAL GOVERNMENT AND SCHOOL
      DeKalb County School District                  DISTRICT  MASTER  SHORT-FORM
 8                                                   COMPLAINT AND DEMAND FOR JURY
                                                     TRIAL
 9

10    Member Case No.:

11

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15
            The Plaintiff(s) named below file(s) this Short-Form Complaint and Demand for Jury Trial
16
     against the Defendant(s) named below by and through their undersigned counsel. Plaintiff(s)
17
     incorporate(s) by reference the allegations, claims, and relief sought in Plaintiffs’ Master Local
18
     Government and School District Complaint (“Master Complaint”) as it relates to the named
19
     Defendant(s) (checked-off below), filed in In Re: Social Media Adolescent Addiction/Personal
20
     Injury Products Liability Litigation, MDL No. 3047, in the United States District Court for the
21
     Northern District of California. Plaintiff(s) file(s) this Short-Form Complaint as permitted by
22
     Case Management Order No 8.
23
            Plaintiff(s) indicate(s) by checking the relevant boxes below the Parties and Causes of
24
     Actions specific to Plaintiff(s)’ case.
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 1         Plaintiff(s), by and through their undersigned counsel, allege(s) as follows:

 2    I.   DESIGNATED FORUM
           1. For Direct Filed Cases: Identify the Federal District Court in which the Plaintiff(s
 3            ) would have filed in the absence of direct filing:

 4              United States District Court for the Northern District of Georgia

 5

 6              ____________________________________________________________________
 7         2. For Transferred Cases: Identify the Federal District Court in which the
 8         Plaintiff(s) originally filed and the date of filing:

 9              N/A

10

11              ____________________________________________________________________
12
     II.   IDENTIFICATION OF PARTIES
13
           A.      PLAINTIFF(S)
14
           3. Plaintiff(s): Name(s) of the local government or school district alleging claims
15            against Defendant(s):
                DeKalb County School District
16
               ____________________________________________________________________
17
           4. Number of schools served in the Plaintiff(s)’ school district or local
18            community:
                Approximately 138 schools
19
               ____________________________________________________________________
20
           5. Number of minors served in the Plaintiff(s)’ school district or local
21            community:
                Plaintiff currently enrolls approximately 92,000 students
22
               ____________________________________________________________________
23
           6. At the time of the filing of this Short-Form Complaint, Plaintiff(s) is/are a resident
24            and citizen of [Indicate State]:
                Georgia
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                ____________________________________________________________________
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     B.      DEFENDANT(S)
 1   7. Plaintiff(s) name(s) the following Defendant(s) in this action [Check all that apply
        ]:
 2    META ENTITIES                                       TIKTOK ENTITIES
 3    ✘ META PLATFORMS, INC.,                                ✘ BYTEDANCE LTD
 4          formerly known as Facebook, Inc.                 ✘ BYTEDANCE INC.
 5    ✘ INSTAGRAM, LLC                                       ✘ TIKTOK LTD
 6
      ✘ FACEBOOK PAYMENTS, INC.                              ✘ TIKTOK LLC
 7    ✘ SICULUS, INC.                                        ✘ TIKTOK INC.
 8    ✘ FACEBOOK OPERATIONS, LLC                           SNAP ENTITY
 9    ✘ FACEBOOK HOLDINGS, LLC                               ✘ SNAP, INC.
10    ✘ META PAYMENTS INC.                                 GOOGLE ENTITIES
11                                                           ✘ GOOGLE, LLC
12                                                           ✘ YOUTUBE, LLC
13

14        OTHER DEFENDANTS
15        For each “Other Defendant” Plaintiff(s) contends are additional parties and are liable
          or responsible for Plaintiff(s)’ damages alleged herein, Plaintiff(s) must identify by
16
          name each Defendant and its citizenship, and Plaintiff(s) must plead the specific facts
17        supporting any claim against each “Other Defendant” in a manner complying with the
          requirements of the Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may
18        attach additional pages to this Short-Form Complaint.
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     NAME                                          CITIZENSHIP
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     III.        CAUSES OF ACTION ASSERTED
 1               8. The following Causes of Action asserted in the Master Complaint, and the allegations
 2                  with regard thereto, are adopted in this Short-Form Complaint by reference (check all
 3                  that are adopted):
 4                                              Count
                      Asserted Against 1       Number               Cause of Action (COA)
 5
                  ✘ Meta entities                 1        NEGLIGENCE
 6                ✘ Snap
                  ✘ TikTok entities
 7                ✘ Google entities
 8                  Other Defendant(s) 2
                  ✘ Meta entities                  2       PUBLIC NUISANCE
 9                ✘ Snap
10                ✘ TikTok entities
                  ✘ Google entities
11                  Other Defendant(s)
12

13
                                                       NOTE
14
      If Plaintiff(s) want(s) to allege additional Cause(s) of Action other than those selected in paragraph
15    8, which are the Causes(s) of Action set forth in the Master Complaint, the facts supporting those
      additional Cause(s) of Action, must be pled in a manner complying with the requirements of the
16    Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may attach additional pages to this
      Short-Form Complaint.
17
     IV.         ADDITIONAL CAUSES OF ACTION
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                 9. Plaintiff(s) assert(s) the following additional Causes of Action and supporting
19
                    allegations against the following Defendants:
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              For purposes of this paragraph, “entity” means those Defendants identified in Paragraph 7 (e.g.,
27          “TikTok entities” means all TikTok Defendants against which Plaintiff(s) is/are asserting claims).
            2
               Reference selected “Other Defendants” by the corresponding row number in the “Other
28          Defendant(s)” chart identified in Paragraph 7.

                                                       4
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 1          WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants and all
 2   such further relief that this Court deems equitable and just as set forth in the Master Complaint,
 3
     and any additional relief to which Plaintiff(s) may be entitled.
 4

 5                                           JURY DEMAND

 6          Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

 7                                                 ****
            By signature below, Plaintiff(s)’ counsel hereby confirms their submission to the authority
 8
     and jurisdiction of the United States District Court of the Northern District of Georgia and
 9

10   oversight of counsel’s duties under Federal Rule of Civil Procedure 11, including enforcement as

11   necessary through sanctions and/or revocation of pro hac vice status.

12                                /s/ Christopher D. Glover
                                   CHRISTOPHER D. GLOVER (417058)
13
                                   DAVIS S. VAUGHN
14                                 BEASLEY, ALLEN, CROW,
                                   METHVIN, PORTIS & MILES, P.C.
15                                 Overlook II
                                   2839 Paces Ferry Rd. SE, Suite 400
16
                                   Atlanta, GA 30339
17                                 (404) 751-1162 telephone
                                   (855) 674-1818 facsimile
18                                 chris.glover@beasleyallen.com
                                   davis.vaughn@beasleyallen.com
19

20                                         Attorneys for Plaintiff(s)

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26                                           DeKalb County School District

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